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AF Approval __JM Chief Approval _ RBH

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA és

| ORLANDO DIVISION 4

UNITED STATES OF AMERICA 3 "9

v. CASE NO. 6:22-cr--wwsGSk =

JOSEPH ELLICOTT “2
| PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by Roger B.
Handberg, United States Attorney for the Middle District of Florida, and the
defendant, JOSEPH ELLICOTT, and the attorneys for the defendant, Robert Mandell
and Joseph Zwick, mutually agree as follows:

A. Particularized Terms

1. Counts Pleading To
The defendant shall enter a plea of guilty to Counts One and Two of the

Information. Count One charges the defendant with conspiracy to commit wire fraud

and honest services fraud, in violation of 18 U.S.C. § 1349. Count Two charges the

defendant with distribution of a controlled substance, in violation of 21 U.S.C. §

841(a)(1).
2. Maximum Penalties
Count One carries a maximum sentence of 20 years’ imprisonment, a
fine of not more than $250,000, or twice the gross gain — by the offense, or twice
the gross loss caused by the offense, whichever is greater, a term of supervised release

of not more than 3 years, and a special assessment of $100.

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Count Two carries a maximum sentence of 20 years’ imprisonment, a
fine of not more than $5,000,000, a term of supervised release of at least 3 years up to
life, and a special assessment of $100.

With respect to certain offenses, the Court shall order the defendant to
make restitution to any victim of the offenses, and with respect to other offenses, the |
Court may order the defendant to make restitution to any victim of the offenses, or to
the community, as set forth below.

3. Elements of the Offenses
The defendant acknowledges understanding the nature and elements of
the offenses with which defendant has been charged and to which defendant is |
| pleading guilty.

The elements of Count One are:

First. | Two or more persons in some way agreed to try to
accomplish a shared and unlawful plan to commit

wire fraud and honest services fratid; and’

Second:  Thedefendant knew the unlawful purpose of the plan |
and willfully joined in it,

The elements of Count Two are:

First: The defendant knowingly distributed, or possessed
with intent to distribute, a controlled substance; and.

Second: The defendant distributed, or intended to distribute,
the controlled substance.

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4. Indictment Waiver
Defendant will waive the right to be charged by way of indictment before
a federal grand jury.
5. No Further Charges
If the Court accepts this plea agreement, the United States Attorney's
Office for the Middle District of Florida agrees not to charge defendant with
committing any other federal criminal offenses known to the United States Attomey's
Office at the time of the execution of this agreement, related to the conduct giving rise
to this plea agreement. |
6. Mandatory Restitution to Victim of Offense of Convi ction
| Pursuant to 18 U.S.C. 8 3663A(a) and (b), defendant agrees to make full
restitution to Seminole County and the relevant Governmental Agency. |
7. Guidelines Sentence |
‘Pursuant to Fed. R. Crim. P. 11(€(1)(B), the United States will
recommend to the Court that the defendant be sentenced within the defendant’s
applicable guidelines range as determined by the Court pursuant to the United States
| Sentencing Guidelines, as adjusted by any departure the United States has agreed to
recommend in this plea agreement. The parties understand that such a
recommendation is not binding on the Court and that, if it is not accepted by this

Court, neither the United States nor the defendant will be allowed to withdraw from

the plea agreement, and the defendant will not be allowed to withdraw from the plea
of guilty.

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. 8, Acceptance of Responsibility - Three Levels
At the time of sentencing, and in the event that no adverse information
is received suggesting such a recommendation to be unwarranted, the United States
will recommend to the Court that the defendant receive a two-level downward
adjustment for acceptance of responsibility, pursuant to USSG §3E1.1(a). The
defendant understands that this recommendation or request is not binding on the
Court, and if not accepted by the Court, the defendant will not be allowed to withdraw
from the plea. | |
| Further, at the time of sentencing, if the defendant's offense level prior to
o . operation of subsection (a) is level 16 or greater, and if the defendant complies with
the provisions of USSG §3E1.1(b) and all terms of this plea agreement, including, but
not. limited to, the timely submission of the financial affidavit referenced in Paragraph
B. 5., the United States agrees to’ file a motion purstiant t to USSG §3E1. 1(b) for a
downward adjustment of one additional level. The defendant understands that the
| determination as to whether the defendant has qualified for a downward adjustment
of a | third level for acceptance of responsibility rests solely with ‘the United States
~ Attorney: for the Middle District of Florida, and the defendant agrees that the |
defendant cannot and will not challenge that determination, whether by appeal,
collateral attack, or otherwise. | |

—&Y. Role in Offense

 

The United States does not oppose the defendant’s request to the Court

that the defendant receive a two-level downward adjustment, pursuant to USSG

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§3B1.2, regarding the defendant's role in the offense for Count One only. The
defendant understands that this recommendation or request is not binding on the
Court, and if not accepted by the Court, the defendant will not be allowed to withdraw
from the plea.
10. Cooperation - Substantial Assistance to be Considered
Defendant agrees to cooperate fully with the United States in the
investigation and prosecution of other persons, and to testify, subject to a prosecution
‘for perjury or making a false statement, fully and truthfully before any federal court
proceeding or federal grand jury in connection with the charges in this case and other
matters, such cooperation to further include a full and complete disclosure of all
‘relevant information, | including production of any and all books, papers, documents,
and. other objects in defendant's possession or r control, and to be reasonably available
for interviews which the United States may require. If the ‘cooperation is completed |
_ prior to sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance, with the policy of the United States _
Attorney for the Middle District of Florida, warranting the filing of a motion at the
time of sentencing recommending (1) a downward departure from the applicable
guideline range pursuant to USSG §5K1.1, or (2) the imposition of a sentence below
a statutory minimum, if any, pursuant to 18 U. S. C. § 3553(e), or (3) both. If the
cooperation is completed subsequent to sentencing, the government agrees to consider
whether such cooperation qualifies as "substantial assistance" in accordance with the

policy of the United States Attorney for the Middle District of Florida, warranting the

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filing of a motion for a reduction of sentence within one year of the imposition of
sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant understands
that the determination as to whether "substantial assistance" has been provided or
what type of motion related thereto will be filed, if any, rests solely with the United
States Attorney for the Middle District of Florida, and the defendant agrees that
defendant cannot and will not challenge that determination, whether by appeal,
collateral attack, or otherwise.
11. Use.of Information - Section 1BL8
| Pursuant to USSG §1B1.8(a), the United States agrees that no self
incriminating information which the defendant may provide during the course of
defendant's cooperation and pursuant to this agreement shall be used in determining
the applicable sentencing guideline range, subject to the restrictions and limitations set
‘forth in USSG §1B1.8(b). |

12. Cooperation - Responsibilities of Parties

‘

. a. The government will make known to the Court and other relevant
- authorities the nature and extent of defendant's cooperation and a any other mitigating
circumstancés indicative of the defendant's rehabilitative intent by assuming the
fundamental civic duty of reporting crime. However, the defendant understands that
the government can make no representation that the Court will impose a lesser
sentence solely on account of, or in consideration of, such cooperation.

b. It is understood that should the defendant knowingly provide.

incomplete or untruthful testimony, statements, or information pursuant to this

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agreement, or should the defendant falsely implicate or incriminate any person, or

should the defendant fail to voluntarily and unreservedly disclose and provide full,
complete, truthful, and honest knowledge, information, and cooperation regarding
any of the matters noted herein, the following conditions shall apply:

(1) The defendant may be prosecuted for any perjury or false
declarations, if any, committed while testifying pursuant to this agreement, or for
obstruction of justice.

(2) The United States may prosecute the defendant for the
charges which are to be dismissed pursuant to this agreement, if any, and may either

"seek reinstatement of or refile such charges and prosecute the defendant thereon in the
event such charges have been dismissed pursuant to this agreement. With regard to .

such charges, if any, which have been dismissed, the defendant, being fully aware of

= the nature of all such charges now pending in the instant case, and being further aware

of defendant's rights, as to all felony charges pending i in such cases (those offenses
punishable by imprisonment for a term of'o over one year), to not. be held to answer to
said felony charges unless on a presentment or indictment of a grand jury, and further
being aware that all such felony charges i in the instant case have heretofore properly
been returned by the indictment of a grand jury, does hereby agree to reinstatement of
such charges by recision of any order dismissing them or, alternatively, does hereby
waive, in open court, prosecution by indictment and consents that the United States
may proceed by information instead ofby indictment with regard to any felony charges

which may be dismissed in the instant case, pursuant to this plea agreement, and the

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defendant further agrees to waive the statute of limitations and any speedy trial, claims
-on such charges.

*(3) The United States may prosecute the defendant for any
offenses set forth herein, if any, the prosecution of which in accordance with this
agreement, the United States agrees to forego, and the defendant agrees to waive the
statute of limitations and any speedy trial claims as to any such offenses.

(4) The government may use against the defendant the
defendant's own admissions and statements and the: information and books, papers,
documents, and objects that the defendant has furnished in the course of the

- defendant's cooperation with the government. - |
(5) ‘The defendant will not be permitted to withdraw the guilty
pleas to those counts to which defendant hereby agrees to plead in the instant case but,
in that event, defendant will be entitled to the sentencing limitations, if any, set forth
in this plea agreement, with regard to those counts to which the defendant has pled;
or in the alternative, at the option of the United States, the United States may move ~
the Court t to declare this entire plea agreement null and void.
13. Forfeiture of Assets
The defendant agrees to forfeit to the United States immediately and
voluntarily any and all assets and property, or portions thereof, subject to forfeiture,
pursuant to 18 U.S.C. § 981(a)(1)(c) and 28 U.S.C. § 2461(c), whether in the possession
or control of the United States, the defendant or-defendant's nominees. The assets to

be forfeited specifically include, but are not limited to, the $6,000 in proceeds the

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defendant admits were obtained, as the result of the commission of the offenses to
which the defendant is pleading guilty. The defendant-acknowledges and agrees that:
(1) the defendant obtained this amount as a result of the commission of the offenses,
and (2) as a result of the acts and omissions of the defendant, the proceeds have been
transferred to third parties and cannot be located by the United States upon the exercise
of due diligence. Therefore, the defendant agrees that, pursuant to 21 U.S.C. § 853(p),
‘the United States is entitled to forfeit any other property of the defendant (substitute
_ assets), up to the amount of proceeds the defendant obtained, as the result of the
offenses of conviction. The defendant further consents to, and agrees not to oppose,
any motion for substitute assets filed by the United. States up to the amount of proceeds
obtained from commission 1 of the offenses and. consents to the entry of the forfeiture
‘order ‘into the Treasury Offset Program. The defendant agrees that forfeiture of
substitute assets as authorized herein shall not be deemed an alteration of the
_defendant's sentence. .

‘The defendarit additionally agrees that since the criminal proceeds have
been trarisferred to third parties and cannot be located by the United States upon the
| exetcise of. due diligence, the preliminary and final orders of forfeiture should
authorize the United States Attorney’s Office to conduct discovery (including
depositions, interrogatories, requests for production of documents, and the issuance of
subpoenas), pursuant to Rule 32.2(b)(3) of the Fed. R. Crim. P., to help identify,

locate, and forfeit substitute assets.

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The defendant also agrees to waive all constitutional, statutory, and
procedural challenges (including direct appeal, habeas corpus, or any other means) to
any forfeiture carried out in accordance with this plea agreement on any grounds,
including that the forfeiture described herein constitutes an excessive fine, was not
properly noticed in the charging instrument, addressed by the Court at the time of the
guilty plea, announced at sentencing, or incorporated into the judgment.

The defendant admits and agrees that the conduct described in the

Factual Basis below provides a sufficient factual and statutory basis for the forfeiture

of the property sought by the government. Pursuant to Rule 32. 2()(4), the defendant

agrees that the preliminary order of forfeiture will satisfy the notice requirement and

will be final as to the defendant at the time it is entered. In the event the forfeiture is
omitted from the judgment, the defendant agrees that the forfeiture order may be

incorporated into-the written judgment at any time pursuant to Rule 36. |

The defendant agrees to take all steps necessary to identify and locate alt
substitute assets and to transfer custody of such assets to the United States before the
defendant's sentencing. To that end, the defendant agrees to make a full and complete
disclosure of all assets over which deferidant exercises control, including all assets held
by nominees, to execute any documents requested by the United States to obtain from

- any other parties by lawful means any records of assets owned by the defendant, and
to consent to the release of the defendant’s tax returns for the previous five years. The -
defendant agrees to be interviewed by the government, prior to and after sentencing,

regarding such assets. The defendant further agrees to be polygraphed on the issue of

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assets, if it is deemed necessary by the United States. The defendant agrees that Fed.
R. Crim. P. 11 and USSG §1B1.8 will not protect from forfeiture assets disclosed by
the defendant as part of the defendant’s cooperation. -

The defendant agrees to take all steps necessary to assist the government
in obtaining clear title to any substitute assets before the defendant’s sentencing. In
addition to providing full and complete information about substitute assets, these steps
include, but are not limited to, the surrender of title, the signing of a consent decree of
forfeiture, and signing of any other documents necessary to éffectuate such transfers.

Forfeiture of the defendant's assets shall not be treated as satisfaction of
any fine, restitution, cost of imprisonment, or any other penalty the Court may impose
upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that the
defendant has breached this section of the plea agreement, the defendant may be found

| ineligible for a reduction i in the Guidelines calculation for acceptance of responsibility

and substantial assistance, and may be eligible for an obstruction of justice:
; enhancement. |

| The defendant agrees that the forfeiture provisions of this plea agreement

| are intended to, and will, survive the defendant, notwithstanding the abatement of any |

underlying criminal conviction after the execution of this agreement. The forfeitability

of any particular property pursuant to this agreement shall be determined as if the

defendant had survived, and that determination shall be binding upon defendant's

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heirs, successors and assigns until the agreed forfeiture, including the forfeiture of any
substitute assets, is final.
B. Standard Terms and Conditions

1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition to or
in lieu of any other penalty, shall order the defendant to make restitution‘to any victim
of the offenses, pursuant to 18 U.S.C. § 3663A, for all offenses described in 18 U.S.C.
§ 3663A(c)(1); and the Court may order the defendant to make restitution to any victim
of the offenses, pursuant to 18 US.C. § 3663, including restitution as to all counts .

| charged, whether or not the defendant enters a plea of guilty to such counts, and
whether or not such counts are dismissed pursuant to this agreement. The defendant
further understands that compliance with any restitution payment plan imposed by the
. Court in no way precludes the United States from simultaneously pursuing other
statutory remedies for collecting restitution (28 U.S.C. § 3003(b)(2)), including, but —
not limited. to, garnishment and. execution, pursuant to the Mandatory Victims
Restitution Act, in order to ensure that the defendant's restitution obligation is
satisfied. | |
" On each count to which a plea of guilty is entered, the Court shall impose
a special assessment pursuant to 18 U.S.C. § 3013. To énsure that this obligation is
satisfied, the defendant agrees to deliver a cashier’s check, certified check, or money

order to the Clerk of the Court in the amount of $200, payable to "Clerk, U.S. District

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Court" within ten days of the change of plea hearing. The defendant understands that

this agreement imposes no limitation as to fine.

2. Supervised Release
The defendant understands that the offenses to which the defendant is

pleading provide for imposition of a term of supervised release upon release from
imprisonment, and that, if the defendant should violate the conditions of release, the
defendant would be subject to a further term of imprisonment.
3. Immigration Consequences of Pleading Guilty
The defendant has been advised and understands that, upon conviction,
a defendant whois not a United States citizen may be removed from the United States,
denied citizenship, and denied admission to the United States in the future. |
4. . Sentencing Information | |
The United States reserves its right and obligation to report to the Court |
and the United States Probation Office all information concerning the background,
character, and conduct of the defendant, to provide relevant: factual information, |
including the totality of the defendant's criminal activities, if any, not limited to the
counts to which defendant pleads, to respond to comments made by the defendant or
defendant's counsel, and to correct any misstatements or inaccuracies. The United
States further reserves its right to make any recommendations it deems appropriate

regarding the disposition of this case, subject to any limitations set forth herein, if any.

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5. Financial Disclosures
Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P. 32(d)(2)(A)(),

the defendant agrees to complete and submit to the United States Attorney's Office
within 30 days of execution of this agreement an affidavit reflecting the defendant's
financial condition. The defendant promises that his financial statement and
disclosures will be complete, accurate and truthful and will include all assets in which
he has any interest or over which the defendant exercises control, directly or indirectly,
including those held by a spouse, dependent, nominee or other third patty. The
. defendant further agrees to execute any documents requested by the United States
needed to obtain from any third parties any records of assets owned by the defendant,
directly or ‘through a nominee, and, by the execution of this plea agreement, consents
to the release of the defendant's t tax returns for the previous five years. The defendant
similarly agrees and authorizes the United States Attorney's Office to provide to, and
| obtain from, the United States Probation Office, the financial affidavit, any of the
defendant's federal, state, and local tax returns, bank records and any other financial
information concerning the defendant, for the purpose of making any .
recommendations to the Court and for collecting any assessments, fines, restitution, .
or forfeiture ordered by the Court. The defendant expressly authorizes the United
States Attorney’ S Office to obtain current credit reports in order to evaluate the

defendant's ability to satisfy any financial obligation imposed by the the Court.

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6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to nor
bound by this agreement. The Court may accept or reject the agreement, or defer a
decision until it has had an opportunity to consider the presentence report prepared by .
the United States Probation Office. The defendant understands and acknowledges
that, although the parties are permitted to make recommendations and present
arguments to the Court, the sentence'will be determined solely by the Court, with the
assistance of the United States Probation Office. Defendant further understands and
acknowledges that any discussions between defendant or defendant's attorney and the
attorney or other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any recommendations be -
| rejected, defendant will not be permitted to withdraw defendant's plea pursuant to this
plea agreement. The government expressly reserves the right to support and defend
any decision that the Court may make with regard to the defendant's sentence, whether
or not such decision is consistent with the government's recommendations contained
herein.

7. Defendant's Waiver of Right to Appeal the Sentence
The defendant agrees that this Court. has jurisdiction and authority to

impose any sentence up to the statutory maximum and expressly waives the right to
appeal defendant's sentence on any ground, including the ground that the Court erred
in determining the applicable guidelines range pursuant to the United States

Sentencing Guidelines, except (a) the ground that the sentence exceeds the defendant's

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applicable guidelines range as determined by the Court pursuant to the United States
Sentencing Guidelines; (b) the ground that the sentence exceeds the statutory
maximum penalty; or (c) the ground that the sentence violates the Eighth Amendment
to the Constitution; provided, however, that if the government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the defendant
is released from his waiver and may appeal the sentence as authorized by 18 U.S.C. §
3742(a).
8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the Office of the
United States Attorney for the Middle District of ‘Florida and:cannot bind other
federal, state, or local prosecuting authorities, although this office will bring
' defendant's cooperation, if any, to the attention of other prosecuting officers or others,

‘if requested.

9. Filing of Agreement

This agreement shall be presented to the Court, in open court or in |
camera, in whole or in part, upon a showing of good cause, and filed in this cause, at
the time of defendant's entry of a plea of guilty pursuant hereto. |

10. Voluntariness
The defendant acknowledges that defendant is entering into this
‘agreement and is pleading guilty freely and voluntarily without reliance upon any
discussions between the attorney for the government and the defendant and

defendant's attorney and without promise of benefit of any kind (other than the

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concessions contained herein), and without threats, force, intimidation, or coercion of
any kind. The defendant further acknowledges defendant's understanding of the
nature of the offense or offenses to which defendant is pleading guilty and the elements
| thereof, including the penalties provided by law, and defendant's complete satisfaction
with the representation and advice received from defendant's undersigned counsel (if
any). The defendant also understands that defendant has the right to plead not guilty
or to persist in that plea if it has already been made, and that defendant has the right
to be tried by a jury with the assistance of counsel, the right to confront and cross.
examine the witnesses against | defendant, the right against compulsory self-
incrimination, and the right to compulsory process for the attendance of witnesses to
- testify in defendant's defense; but, by pleading guilty,. defendant waives or gives up
those rights and there will be no trial. The defendant further understands that if
defendant pleads guilty, the Court may ask defendant questions about the offense or
offenses to which defendant pleaded, and if defendant answers those questions under
oath, on the record, and in the presence of counsel (if any), defendant's answers may
later be used against defendant i in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the offenses to
which defendant has pleaded and, if any of such offenses are felonies, may thereby be
deprived of certain rights, such as the right to vote, to hold public office, to serve on a

jury, or to have possession of firearms.

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11. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty. The
defendant certifies that defendant does hereby admit that the facts set forth in the
attached "Factual Basis," which is incorporated herein by reference, are true, and were
this case to go to trial, the United States would be able to prove those specific facts and

others beyond a reasonable doubt.

12. Entire Agreement

)
This plea agreement constitutes the entire agreement between the

government and the defendant with respect to the aforementioned guilty plea and no
other promises, agreements, or representations exist or have been made to the

defendant or defendant's attorney with regard to such guilty plea.

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13. Certification
The deiteenibot and defendant's counsel certify that this site agreement
has been read in its entirety by (or has been read to) the defendant and that defendant
fully understands its terms.
DATED this _/X day of Sauu pcg — 2022.

ROGER B. HANDBERG
United States Attorney

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JOSEPH ELLICOTT Roger B. Handberg
Defendant United States Attorney
Robert Mandell Jennifer M. Hattin
Attorney for Defendant Assistant United ttorney
AES Amano Daw-2ts
fo Joseph Zwick — Amanda Daniels
Attorney for Defendant Assistant United States Attorney

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
Yo | CASE NO. 6:22-cr-

JOSEPH ELLICOTT

 

PERSONALIZATION OF ELEMENTS
The elements of Count One are: .
First: Did two or more persons in some way agree to try to
| accomplish a shared and unlawful plan to commit wire

' fraud and honest services fraud?

_ Second: Did you know the unlawful purpose of the plan and
willfully j jom in it?

The elements of Count Two are:

First: - Did you knowingly distribute, or possess. with intent to
distribute, a controlled substance?.

Second: Did you distribute, or intend to distribute, the controlled
substance? .

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 6:22-cr- .
JOSEPH ELLICOTT
FACTUAL BASIS:
Count One .
In January 2017, the defendant, Joseph Ellicott, was hired by a government
agency in Seminole County (referred to herein as the “Governmental Agency”) as a
Special Projects Manager. The elected head of the Governmental Agency was a public
official and Ellicott’s fiend (referred to herein as the “Public Official”). From an
unknown date, but beginning at least by in or around January 2017, and continuing
thereafter through and including in or around 2019, Ellicott, the Public Official, and a
contractor with the Governmental Agency (referred. to herein as the “Contractor
. Conspirator”) conspired with each c other to commit wire fraud and honest services
fraud. The purpose of the conspiracy was for the Public Official to secretly use his
official position to enrich himself by soliciting and accepting gifts, payments, and
"others ‘things of value from the Contractor Conspirator and the Contractor
Conspirator’s company in exchange for favorable official action, and for the

Contractor Conspirator to enrich the Contractor Conspirator and the Contractor

Conspirator’s company by secretly obtaining favorable official action for the

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Contractor Conspirator and the Contractor Conspirator’s company through corrupt

means.

The conspiracy included the following components: . ©

1.

The Contractor Conspirator and the Contractor Conspirator’s company
would and did enter into a contract with the Governmental Agency to
provide goods and services to the Governmental Agency.

The Contractor Conspirator and the Contractor Conspirator’s company
submitted invoices to the Governmental Agency that included prices for
goods and services that were inflated to enrich the Contractor
Conspirator and the Contractor Conspirator’s company and to defraud
the Governmental Agency. ,

The Public Official agreed to use his official position to provide favorable
official action on behalf of the Contractor Conspirator and the Contractor
Conspirator’s company as requested and as opportunities arose,
including by continuing to employ the Contractor Conspirator and the
Contractor Conspirator’s company and by causing the Contractor
Conspirator and the Contractor Conspirator’s company to be ‘paid,
including for the inflated invoices that the Contractor Conspirator and
the Contractor Conspirator’s company submitted. In exchange for the
Public Official providing such favorable official action, the Contractor
Conspirator agreed to pay bribes and kickbacks to The Public Official. |.

The Contractor Conspirator made a bribe and kickback of $6,000 in cash
to the Public Official on or about September 25, 2017. Ellicott served as —

the intermediary for this $6,000 kickback payment, taking the cash from
the Contractor Conspirator and delivering the cash to the Public Official.

The Contractor Conspirator attempted to conceal the fraudulent nature
of the transaction by devising a false cover story that the cash that the
Contractor Conspirator provided to Ellicott on or about September 25,
2017was for the purchase of a portion of Ellicott’s business, Uncle Joe’s
Coins, when, in truth and in fact, the only purpose of the false cover story
was to conceal that the cash was a bribe and kickback to the Public
Official in exchange for receiving official action.

In or about January 2017, a company entered into a contract ‘with the

Governmental Agency to provide goods and services to the Governmental Agency

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(referred to herein as the “Contractor Conspirator’s company”). The owner of the
Contractor Conspirator’s company (referred to herein as the “Contractor
Conspirator”) signed the contract on behalf of the Contractor Conspirator’s company.
The Public Official signed the contract on behalf of the Governmental Agency and
was the official from the Governmental Agency who decided to enter into that
contract. The Public Official agreed to pay the Contractor Conspirator and the
Contractor Conspirator’s company a monthly fee. In addition, the Contractor
Conspirator and the Contractor Conspirator’ s company billed the Governmental
Agency for certain goods and services, including printing, shirts, envelopes and
business cards.

Many of the bills submitted byt the Contractor Conspirator and the Contractor
Conspirator’s company for goods and services were inflated. Another company
(referred to herein as the Company”) would provide goods or services to the
Governmental Agency; but the bills for the Company would be provided to the
Contractor Conspirator. The Contractor Conspirator’s company used those bills to
prepare invoices, written on the letterhead of the Contractor Conspirator’s company,
that were submitted to the Governmental Agency. Those invoices inflated some of
the prices of the goods and services that the Company had provided. The Contractor
Conspirator and the Contractor Conspirator’s company would receive payment from
the Governmental Agency and pay the Company the amount that the Company had

submitted to the Contractor Conspirator on its invoice. The Contractor Conspirator

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and the Contractor Conspirator’s company would keep the amount by which the
Company’s invoice had been inflated.

For example, the Company provided the Contractor Conspirator with invoices
dated March 20, 2017, and March 23, 2017, totaling approximately $13,900. The
Contractor Conspirator used those invoices to create its own invoice for those goods
and services, which totaled $19,870. The total amount of inflation of the invoices was
over 40% ($5,970/ $13,900).

The Contractor Conspirator routinely submitted inflated invoices, including on

or about the following dates: May 7, 2017 (over 40% increase), June 12, 2017 (over
| 35% increase), June 20, 2017 (over 50% increase), July 11, 2017 (over 30% increase),
July 31, 2017 (over 30% increase), Avgust 22, 2017 (over 50% increase), and
September 23, 2017 (over 50% increase).
i ‘in exchange for the Public Official’s agreement to provide favorable official ~
action by entering into a contract with the Contractor Conspirator and the Contractor
Conspirator’s company and paying the Contractor Conspirator and the Contractor
Cénspirator’s company, including for the inflated invoices, the Contractor
Conspirator agreed to pay bribes and kickbacks to the Public Official. Ellicott’s role
in the conspiracy was to serve as the intermediary in the payment of a bribe and
kickback on or about-September 25, 2017. |
On or about that date, at approximately 11:51 am., Ellicott attempted to call
the Contractor Conspirator. The Contractor Conspirator called back at approximately

~ 12:08 p.m. At approximately 1:21 p.m., the Public Official called the Contractor

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Conspirator. After that, the Contractor Conspirator went to a branch of Wells Fargo
in the Middle District of Florida where the Contractor Conspirator had personal
accounts and withdrew $6,000 in cash from the Contractor Conspirator’s personal

. Savings account. This transaction occurred at approximately 1:42 pm. At
approximately 1:58 p.m., the Contractor Conspirator called Ellicott.

Once the Contractor Conspirator had the cash, the Contractor Conspirator met
with Ellicott in the Middle District of Florida. Ellicott new that the Contractor
Conspirator was paid by the Governmental Agency and that the Public Official was
involved in authorizing the contract for the Contractor Conspirator. ‘The Contractor
Conspirator provided Ellicott with the $6,000 in cash, which Ellicott knew was cash
that the Contractor Conspirator was paying to the Public Official. To concéal the
illegality of the kickback that was being paid, the Contractot Conspirator devised a
false cover story that the cash that the Contractor Conspirator provided to Ellicott was
for the purchase ofa portion of Ellicott’s business, Uncle Joe’s Coins. Ellicott and the
Contractor Conspirator knew that this cover story was false and fraudulent and was
only intended on attempting to conceal the fact that the Contractor Conspirator was
illegally paying cash to the Public Official in case someone questioned the transaction
later. Ellicott knew that the transaction was illegal, in part, due to the fact that it was

_ made in cash, that the money was being given to the Public Official by someone who

was being paid by the Governmental Agency on a contract, and that the Contractor

Conspirator had devised a false cover story to conceal the true purpose of the

transaction.

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At about 3:59 p.m., the Public Official called Ellicott. At about 6:04 p.m., the
Public Official called the Contractor Conspirator, and they spoke for over 4 minutes.
Ellicott delivered thie $6,000 in cash to the Public Official. On or about
September 29, 2017, at approximately 5:57 p.m. ata branch of Fairwinds Bank in the
Middle District of Florida, the Public Official deposited $6,020 in ‘cash into his
personal accounts. Those proceeds included the $6,000 bribe and kickback that the
Contractor Conspirator had paid to the Public Official, using Ellicott as an
intermediary. The Contractor Conspirator paid the Public Official those funds in
exchange for an official act by the Public Official of entering into the contract with the
Contractor Conspirator and the Contractor Conspirator’s company and paying the
Contractor Conspirator and the Contractor Conspirator’s company on the contract
with the Governmental Agency, both in the past and on a going forward basis.
In exchange for making that bribe and kickback, the Public Official continued
~ to employ the Contractor Conspirator and the Contractor Conspirator’s company and
to cause the Contractor Conspirator and the Contractor Conspirator’s company to be
paid, including for the inflated invoices that the Contractor Conspirator and the
Contractor Conspirator’s company continued to submit. For example, the Contractor
~ Conspirator and the Contractor Conspirator’s company submitted inflated invoices for
payment, including on the following dates: October 16, 2017 (over 20% increase) and
November 26, 2017 (over 90% increase). Those inflated invoices were paid, including
by the Public Official who used one of his American Express cards from the

Governmental Agency to pay the October 16, 2017 invoice on or about November 17;

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2017. The Public Official also used one of his American Express cards from the
Governmental Agency to pay the Contractor Conspirator and the Contractor
Conspirator’s company the monthly feé on or about November 17, 2017. The Public
Official’s payments to the Contractor Conspirator and the Contractor Conspirator’s
company, and his authorization for the Contractor Conspirator and the Contractor
Conspirator’s company to get the contract in the first place and to be paid on the
contract, were some of the official acts that the Public Official undertook in exchange
for the bribe and kickback from the Contractor Conspirator.

During the course of the conspiracy, the conspirators caused. interstate wires to
be used, including for the ACH transactions that were used to pay ‘the: Contractor
-- Conspirator and the Contractor Conspirator’ s company (including on or about August
16, 2017, August 25, 2017, September 8, 2017, September 28, 2017, October il, 2017,
October 24, 2017, December 19, 2017, January 3, 2018, February 13, 2018, March 6,
2018, and April 10, 2018) and the American Express transactions on November 17,
"2017. Those wires were processed tising servers or instrumentalities outside of Florida,
which caused. wire that originated in the Middle District of Florida to travel in
interstate commerce. |

7 After a subpoena was served on the Governmental Agency regarding the federal
investigation of the Public Official in or about April 2019, the Contractor Conspirator
carne up with another cover story for the Contractor Conspirator’s $6,000 payment to
the Public Official. This cover story was that the Contractor Conspirator had paid the

Public Official $6,000 for some leftover furniture from the Public Official’s 2016

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campaign. As part of the Contractor Conspirator’s efforts to conceal the bribe and.
kickback that had been paid in September 2017, the Contractor Conspirator provided
“the Public Official with a fake receipt dated September 25, 2017, that claimed to reflect
the sale of two desks, a credenza, a conference room table with four chairs, an end
table, an office cubicle, an office chair, a book case, two whiteboard, and a television
for $6,000. The Contractor Conspirator knew that this document was false and
fraudulent and was only intended on attempting to conceal the fact that the Contractor
Conspirator had illegally paid $6,000 in cash to the Public Official in case an
investigator from the federal investigation questioned the transaction.
| Count Two |
Adderall is an amphetamine and a Schedule II controlled substance. For at
~ Jeast two years, Ellicott illegally sold Adderall to others. |
For example, one of Ellicott’s customers purchased hundreds of pills from him
(referred to herein as the “Purchaser”). Over.the course of more than two years, the
~ Purchaser paid Ellicott over $5, 000 for those controlled substances. Those payments
included payments by Venmo and check. For the Venmo payments, the Purchaser
would use the Purchaser’s Venmo account to pay Bllicott’s Venmo account and would
include a note with the transaction intended to conceal that the payment was for illegal
controlled substance distribution by Ellicott. | |
For the checks, Ellicott andthe Purchaser attempted to conceal the true nature
of the transaction by having the Purchaser write checks to Ellicott’s coin business,

Uncle Joe’s Coins. From January 2017 to January 2019, the Purchaser wrote over 25

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checks, totaling over $4,000, to Uncle Joe’s Coins to pay for controlled substances that
were sold to the Purchaser by Ellicott. None of those checks were for any purchase of
coins or anything else sold by Uncle Joe’s Coins. Instead, the checks were for
amounts, usually in round numbers, that reflected the number of dosage units sold by
Ellicott.
One such transaction occurred on or about December 8, 2018. On December
7, 2018, the Purchaser texted Ellicott. After that, Ellicott and the Purchaser texted an
additional nine times on that date, spanning from around 2:00 p.m. to 10:30 p.m. On
or about December 8, 2018, Ellicott met the Purchaser and delivered the Adderral in
the Middle District of Florida. On or about that same day, the Purchaser paid Ellicott .
$95 for the Adderral using Venmo. To conceal the true nature of the transaction, the
Purchaser included a message of “2 hour full body massage” with the Purchaser's
Venmo payment, which was a false representation intended to disguise the fact that

the payment was being made for the purchase of a controlled substance from Ellicott.

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